       Case 24-50512-grs                     Doc 14 Filed 05/02/24 Entered 05/03/24 00:07:27                                              Desc Imaged
                                                   Certificate of Notice Page 1 of 2
                                                                United States Bankruptcy Court
                                                                 Eastern District of Kentucky
In re:                                                                                                                   Case No. 24-50512-grs
Donald Anthony Fitzpatrick                                                                                               Chapter 11
Ashley Louise Fitzpatrick
       Debtors
                                                      CERTIFICATE OF NOTICE
District/off: 0643-5                                                    User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 30, 2024                                                 Form ID: oamd                                                              Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 02, 2024:
Recip ID                  Recipient Name and Address
db/jdb                  + Donald Anthony Fitzpatrick, Ashley Louise Fitzpatrick, 1152 Red Lick Road, Berea, KY 40403-9647

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 02, 2024                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 30, 2024 at the address(es) listed below:
Name                                Email Address
Bradley M. Nerderman
                                    on behalf of U.S. Trustee U.S. Trustee Bradley.Nerderman@usdoj.gov

John T. Hamilton
                                    on behalf of Joint Debtor Ashley Louise Fitzpatrick hamilawoff@gmail.com

John T. Hamilton
                                    on behalf of Debtor Donald Anthony Fitzpatrick hamilawoff@gmail.com

U.S. Trustee
                                    ustpregion08.lx.ecf@usdoj.gov


TOTAL: 4
   Case 24-50512-grs              Doc 14 Filed 05/02/24 Entered 05/03/24 00:07:27                                Desc Imaged
                                        Certificate of Notice Page 2 of 2
                         UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Kentucky
                                             Lexington Division
                            Mailing Address: 100 E Vine Street Ste 200, Lexington, KY 40507−1430

In re Donald Anthony Fitzpatrick
      Ashley Louise Fitzpatrick                               Case No. 24−50512−grs
      1152 Red Lick Road
      Berea, KY 40403                                         Chapter: 11
      1152 Red Lick Road
      Berea, KY 40403
 aka/dba:
 SSN/TID: xxx−xx−4303
          xxx−xx−7552


Debtor(s)

                                          ORDER TO FILE/AMEND
     A Petition having been filed in the above−referenced case on April 29, 2024, and the Court being otherwise
properly and sufficiently advised,

    It is ORDERED that, within 14 days of the filing date of the Petition, pursuant to the United States Bankruptcy
Code, the Federal Rules of Bankruptcy Procedure, and the local Bankruptcy Rules for the Eastern District of
Kentucky, the following document(s) shall be filed with the Court:

     Missing document(s) or a portion thereof:

     Schedules A−J with Declaration About an Individual Debtor(s) Schedules, Summary of Your Assets and
Liabilities and Certain Statistical Information, Statement of Financial Affairs for Individuals Filing for Bankruptcy,
Disclosure of Compensation of Attorney for Debtor

    Failure to comply with this Order may result in the dismissal of this case, or the withholding of the discharge of
Debtor(s) without further notice or hearing. This does not limit any party in interest from seeking contempt sanctions,
dismissal of the case, or any other remedy for failure to comply with this Order.


DATED: April 30, 2024

                                                              By the Court −
                                                              /s/Gregory R. Schaaf
                                                              Gregory R. Schaaf
                                                              U.S. Bankruptcy Judge



KYE_oamd                                                                                                7
